Case 9:20-md-02924-RLR Document 2468 Entered on FLSD Docket 12/16/2020 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
   PRODUCTS LIABILITY                                                                   20-MD-2924
   LITIGATION

                                                           JUDGE ROBIN L ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                  PRETRIAL ORDER # 57
                   Order Regarding Initial Discovery of Distributor Defendants

          Plaintiffs’ Co-Leads have met and conferred with the Distributor Defendants against whom

   suit was brought in this MDL Proceeding (AmerisourceBergen Corporation, Cardinal Health, Inc.,

   and McKesson Corporation) concerning which categories of documents those Defendants could

   reasonably produce in the near term, taking into account the limitations currently in effect due to

   COVID-19 restrictions. Those parties have now informed the Court that they have reached an

   agreement on the initial scope of discovery and related deadlines (“Core Discovery Agreement”).

          The Distributor defendants shall provide documents as reflected in the Core Discovery

   Agreement beginning in seven (7) days to be completed within forty-five (45) days of the date of

   this Order. Plaintiffs may serve formal written discovery after February 1, 2021.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 16th day of

   December, 2020.


                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE




                                                   1
